
USCA1 Opinion

	













                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 96-1769

                                 LUIS A. ACOSTA-VEGA,

                                Plaintiff, Appellant,

                                          v.

                                     JESSE BROWN,
                        SECRETARY OF VETERANS AFFAIRS, ET AL.,

                                Defendants, Appellees.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                   [Hon. Salvador E. Casellas, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                 Cyr, Stahl and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Victoria A. Ferrer on brief for appellant.
            __________________
            Guillermo Gil,  United States Attorney,  and Isabel Munoz  Acosta,
            _____________                                ____________________
        Assistant United States Attorney, on brief for appellees.


                                 ____________________

                                  December 20, 1996
                                 ____________________



















                      Per  Curiam.   Plaintiff-appellant Luis  A. Acosta-
                      ___________

            Vega  appeals  from  the  district  court's   order  granting

            defendants-appellees' motion to  dismiss Acosta's  employment

            discrimination  claim against  his  federal  employer,  Jesse

            Brown  as Secretary  of  the Department  of Veterans  Affairs

            ("the  Department").    The   district  court  dismissed  the

            complaint  on the ground  that it   was untimely filed.   The

            correctness  of  that  determination  is the  sole  issue  on

            appeal.1
                   1

                 To  be  timely, an  employment  discrimination complaint

            against  the federal  government under  Title VII,  42 U.S.C.

             2000e-1 et seq.,  must be filed "[w]ithin 90 days of receipt
                     __ ____

            of notice of  final action taken by a department .  . . ." 42

            U.S.C.   2000e-16(c).    Timely   filing  of  the  complaint,

            however, is  not a  jurisdictional prerequisite to  suit. See
                                                                      ___

            Irwin  v. Department of Veterans  Affairs, 498 U.S. 89, 95-96
            _____     _______________________________

            (1990);  Nunnally v. MacCausland,  996 F.2d 1,  2-3 (1st Cir.
                     ________    ___________

            1993); 3 Lex  K. Larson, Employment  Discrimination  64.07[5]
                                     __________________________

            (2d ed. 1996).

                 Defendants moved for dismissal  pursuant to both Fed. R.

            Civ.  P. 12(b)(1) and 12(b)(6).   Although the  court did not

            make  explicit the  basis for the  dismissal, it  is implicit

            from the  opinion that the  dismissal was premised  upon Rule


                                
            ____________________

               1  Acosta appeals only from the dismissal of the Title VII
               1
            claim against Secretary Brown.

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            12(b)(1).    The  court  considered matters  outside  of  the

            pleadings and resolved disputed factual matters,  placing the

            burden  on Acosta  to  "conclusively counteract"  defendants'

            evidence  of untimely  filing. See 5A  Charles A.  Wright and
                                           ___

            Arthur R.  Miller, Federal  Practice and Procedure   1350 (2d
                               _______________________________

            ed.  1990)  (explaining  that  district  court  may  consider

            affidavits  and other  matters  outside of  the pleadings  to

            resolve  a jurisdictional  challenge and  that the  burden of

            proof on a  Rule 12(b)(1)  motion is on  the party  asserting

            jurisdiction).

                 Because  compliance  with  the  filing  requirements  of

             2000e-16(c)  is  not   a  jurisdictional  prerequisite,  the

            dismissal of  Acosta's complaint  for untimely  filing should

            have  been  premised  upon  Rule 12(b)(6)  rather  than  Rule

            12(b)(1).   See Supermail Cargo,  Inc. v.  United States,  68
                        ___ ______________________     _____________

            F.3d 1204,  1206 n.2  (9th Cir.  1995); Espinoza v.  Missouri
                                                    ________     ________

            Pacific  R.R. Co., 754 F.2d  1247, 1248 n.1  (5th Cir. 1985);
            _________________

            Gordon  v. National  Youth Work  Alliance, 675 F.2d  356, 360
            ______     ______________________________

            (D.C. Cir. 1982).   This  court is "'not  bound by the  label

            employed  below'" and  may treat  the  dismissal as  one made

            pursuant to Rule  12(b)(6). Estate of Soler  v. Rodriguez, 63
                                        _______________     _________

            F.3d 45, 47 n.1 (1st Cir. 1995) (citation omitted).

                 For the foregoing reasons, we treat the district court's

            dismissal  as  one  made  pursuant  to  Rule  12(b)(6).   The

            district court's express  reliance upon materials  outside of



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            the pleadings, however, converted  the motion to dismiss into

            a motion for summary judgment. See Fed. R. Civ. P. 12(c); see
                                           ___                        ___

            also Garita Hotel Ltd. v. Ponce Federal Bank, 958 F.2d 15, 19
            ____ _________________    __________________

            (1st Cir. 1992)  ("the test [for  conversion] is not  whether

            supplementary  materials were  filed, but  whether  the court

            actually took cognizance  of them .  . .  in arriving at  its

            decision").  Accordingly,  we review the dismissal de novo to
                                                               __ ____

            determine  whether  all  "competent  evidence  and reasonable

            inferences," viewed  in the  light most favorable  to Acosta,

            show  that there is no genuine issue as to any material fact.

            Ortiz-Pinero v. Rivera-Arroyo, 84 F.3d 7, 11 (1st Cir. 1996).
            ____________    _____________

            As the movants on  the motion to dismiss, defendants  had the

            burden of proving that no material facts were in dispute.

                 The  pleadings  and  supplemental  materials  before the

            court when it ruled on defendants' motion to  dismiss, viewed

            in the light most favorable to Acosta, create a genuine issue

            regarding  a material  fact:  the date  that Acosta  received

            notice  of  the  Department's  final  action  on  his  claim.

            Defendants  conceded that  the  certified  letter  mailed  to

            Acosta's  attorney  on  November   24,  1993  was  improperly

            addressed.   Therefore,  the  common law  presumption that  a

            properly  addressed  and mailed  letter  is  received in  due
            ________

            course  does  not apply  here.   Nor  does the  signed return

            receipt remove all genuine  issues of material fact regarding

            the  date  of receipt.   One  "Jose  Vazquez" signed  for the



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            letter, but Vazquez had no connection to Acosta's attorney or

            her firm and  was not  authorized to receive  mail for  them,

            the firm's administrator stated in an "affirmation."

                 In  granting defendants' motion to dismiss, the district

            court  found   that  Acosta   had  failed  to   "conclusively

            counteract defendants'  evidence."   On a motion  for summary

            judgment, however,  the nonmovant does not  have that burden.

            It  is sufficient for the nonmovant to merely raise a genuine

            issue of material fact.

                 The  dismissal  of  Acosta's  Title  VII  claim  against

            defendant Jesse Brown is vacated and the case is remanded for
                                     _______

            further proceedings. See Loc. R. 27.1.
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